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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


UNITED STATES OF AMERICA
                                                           Case No. 18-CR-681

                       v.
                                                           Honorable Judge Kendall
                                                           Magistrate Judge Valdez
MICHAEL ABRAMSON




                  MOTION TO CONTINUE TRIAL BASED UPON
                       REQUEST OF ANOTHER JUDGE

       COMES NOW the defendant, MICHAEL ABRAMSON (“ABRAMSON”), by

and through his undersigned counsel, and moves this Honorable Court to continue the

trial date in this matter due to a request from a Judge in another Jurisdiction. In support

thereof, Lee states as follows:

       1. This matter is currently set for trial on September 7, 2021.

       2. As the Court is aware this matter was previously set for trial however,

           previous Counsel withdrew, and current Counsel entered his appearance.

       3. Defense Counsel was scheduled to begin a multi-defendant (3 defendants)

           trial in the Western District of Tennessee on March 15, 2021 (reset to that date

           because of Covid) in the matter of US v. Young, et al., 19 CR 10040.

       4. Counsel represents Dr. Andrew Rudin in that matter who is on bond.

           However, co-defendant Jeffery Young is in custody and has been for

           approximately two years. His requests for bond have been denied.



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     5. Due to Covid the March trial date was stricken and Judge Fowlkes has set the

        matter for August 23, 2020. The Government’s case in chief is expected to

        last 3 weeks with each defendant then presenting evidence (one defendant

        may still plead).

     6. Counsel advised Judge Fowlkes of this matter and the current trial date of

        September 7, 2021.

     7. Judge Fowlkes, given the custody status of Defendant Young, requested that

        Counsel seek to continue this matter. Judge Fowlkes indicated that he would

        assist in any matter and your Honor could contact him directly through his

        staff at 901-495-1326 (published number from website).

     8. Between the time of Judge Fowlkes resetting the matter to August 23,2020 to

        recent, Counsel and the DOJ in the other matter have had ongoing plea

        negotiations. It is now evident that the matter in the Western District of

        Tennessee (WDTN) will proceed to trial.

     9. Counsel has advised the Government lawyers in this matter of the situation so

        they can address their position at the hearing.

     10. This motion is not made to cause delay, but at the request at of another Court.

     11. Had it not been for the situation in the WDTN, counsel would have been

        prepared to proceed to trial.




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     For the foregoing reasons, Counsel requests that trial in this matter be reset.

                                            Respectfully submitted,

                                            /s/ Nishay K. Sanan
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